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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA

MERCK & CO., INC., and
MERCK SHARP & DOHME LLC,

               Plaintiffs,
                                          Civil Action No. 23-cv-1615-CKK
      v.

XAVIER BECERRA, U.S. Secretary of
Health & Human Services; et al.,

               Defendants.



 COMBINED OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY
           JUDGMENT AND REPLY IN SUPPORT OF
       PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT



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                                 INTRODUCTION

      Congress decided that Medicare “spend[s] far too much” on prescription drugs.

ECF 25 (Govt. Br.) at 21. So it enacted a law ordering pharmaceutical manufacturers

to turn over their most valuable products to Medicare beneficiaries at steep discounts

from market prices—or else pay massive tax penalties. And to conceal that top-down

takeover of the pharmaceutical industry, Congress directed manufacturers to “agree”

in writing that those discounts reflect the “maximum fair prices” for their products.

The Administration then sold the Program to the American people as a “voluntary”

system of “negotiations” with drug manufacturers.

      The Program is, on its face, a straightforward violation of the Fifth and First

Amendments. Seizing property for public benefit without paying its market value is

exactly what the Takings Clause prohibits. And conscripting regulated parties to

obscure reality by parroting the Government’s agenda is precisely what the compelled

speech doctrine forbids. But the Government insists this is all permissible, because

manufacturers are not “obligated to participate,” ostensibly making the Program’s

property and speech burdens purely “voluntary.” Govt. Br. 2.

      This is a shell game. Yes, manufacturers have “choices.” If they do not want

to hand over their property, they can “choose” to pay enormous penalties. That does

not solve the constitutional problem—it creates it. Alternatively, the Government

says, manufacturers can “choose” to “divest” selected drugs from their portfolio. Govt.

Br. 23. But abandoning property to avoid its appropriation is obviously not a solution

either; that just imposes a different burden on property rights.



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      Last, but foremost for the Government, the manufacturer can “suspend” the

tax if it withdraws all its products from Medicare and Medicaid—forfeiting nearly

half the U.S. market and abandoning millions of patients. The Government says that

makes the Program just a “condition” on coverage under these federal insurance

programs. But that does not somehow immunize the Program from scrutiny; the

“unconstitutional conditions” doctrine forbids the abuse of federal spending powers

to coerce the abandonment of constitutional rights. And the Program flunks that

doctrine on multiple levels—it holds hostage a pre-existing funding stream that no

manufacturer can afford to lose, one intended to pay for other products, to induce the

companies to hand over their property and to pretend they did it willingly. That is a

textbook example of a coercive condition (not a voluntary one), a disproportionate

exaction (not a reasonable one), and an illusory exchange (not a genuine one).

      To be very clear, nobody has a right to force others to buy their products at any

particular price. But nor does anyone have a right to force others to sell their products

at any particular price. Congress is thus free to impose “limits on how much federal

agencies pay for prescription drugs.” Govt. Br. 1. Congress is also free to authorize

agencies to “negotiate prices,” like any market participant. Id. But what Congress

cannot do is use draconian penalties or exclusion from government benefits to punish

manufacturers who do not “agree” to sell at bargain-basement prices. That is not

“negotiation” (id.), “ordinary price regulation” (Govt. Br. 30), or anything remotely

resembling the behavior of “any well-funded market participant” (Govt. Br. 20). It is

an abuse of the Spending Clause to circumvent the Constitution.




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      Yet that is exactly what the Program does. In so contending, Merck is not

laboring under any “misunderstandings” of the statute. Govt. Br. 2. Rather, it is the

Government that has tried at every turn to rewrite the IRA’s text, to “fix” its

constitutional flaws, to downplay its obligations, and to contort its penalties. But no

amount of administrative maneuvering or lawyerly semantics can transform the

Program into just a “voluntary” system for price “negotiation.”

      Merck understands Congress’s desire “to reduce government spending” on

prescription drugs (Govt. Br. 1), and shares the goal of amici to expand access to those

products. But the Constitution puts constraints on how those goals can be advanced,

and the Program’s unprecedented framework crosses constitutional lines.

                                    ARGUMENT

I.    THE GOVERNMENT’S STANDING OBJECTION IS BOTH MERITLESS AND MOOT.

      The Government’s lead submission is that this case should be dismissed on

prudential standing grounds because, under guidance issued after Merck sued, the

plaintiff supposedly should instead be one of Merck’s wholly owned subsidiaries—

Merck Sharp & Dohme LLC (MSD). Govt. Br. 8–12. The Government’s resort to this

formalistic extreme to avoid engaging on the merits is certainly conspicuous. But its

objection is misguided. The Supreme Court and D.C. Circuit have allowed corporate

parents to challenge laws that regulate their subsidiaries. Plus, the Program imposes

independent injuries on Merck too. Regardless, the Government’s objection is easily

addressed by adding MSD as a plaintiff, as Merck has now done by amending its

complaint (ECF 51). So, one way or the other, this action can proceed.




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      A.     Merck Itself Has Standing To Challenge the Program.

      The Government admits that one of Merck’s products, Januvia, has now been

selected for the first round of the Program, just as Merck alleged. See Govt. Br. 8.

Nonetheless, the Government says that CMS announced, in guidance issued after

Merck sued, that the agency would treat the IRA as imposing obligations only on the

drug’s so-called “primary manufacturer,” which CMS defines as the entity that holds

the “new drug application” (NDA) for FDA purposes. Govt. Br. 9; ECF 23-5 (Revised

Guidance) at 118. For Januvia, the NDA holder happens to be MSD, a wholly owned

Merck subsidiary. See Govt. Br. 9; Supp. Decl. of Patrick Davish (Davish Supp. Decl.)

¶ 5. So, the Government maintains, “Merck lacks standing” and only MSD would be

a proper plaintiff. Govt. Br. 8. That argument is wrong on multiple levels.

      To start, the Government does not dispute that Merck has Article III standing

to sue based on harm to its wholly owned subsidiary. The very case the Government

cites (Govt. Br. 10) says so: “We think that the Court of Appeals was quite right in

holding that respondents have Article III standing to challenge the taxes that their

wholly owned subsidiaries are required to pay.” Franchise Tax Bd. of Cal. v. Alcan

Aluminum Ltd., 493 U.S. 331, 336 (1990). And the D.C. Circuit has cited that case

to allow “the sole shareholder of two affected corporations” to pursue a constitutional

challenge. BellSouth Corp. v. FCC, 144 F.3d 58, 62 (D.C. Cir. 1998). Instead, the

Government claims that Merck lacks “prudential” standing under the “shareholder

standing rule,” which can restrict shareholders from asserting certain rights on the

corporation’s behalf. Alcan, 493 U.S. at 336. That theory fails for four reasons.




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      First, the Government does not dispute that Merck had standing when it filed

its complaint; it simply contends that subsequent CMS guidance narrowed the entry

to the courthouse. At most, this is therefore an issue of mootness. And because the

supposed mootness as to Merck was caused by the Government’s own conduct, such

“maneuvers designed to insulate” agency action “from review by this Court must be

viewed with a critical eye.” Knox v. SEIU, 567 U.S. 298, 307 (2012). The Government

in those circumstances “bears the burden” to prove that it is “absolutely clear” that

any threat of injury has abated. West Virginia v. EPA, 142 S. Ct. 2587, 2607 (2022).

It cannot carry that burden here. CMS’s guidance is just that—guidance—and it can

be revised at any time without even the hindrance of notice-and-comment procedures.

See Govt. Br. 6. Because Merck itself is thus not out of the woods, the issuance of the

Revised Guidance does not moot the claims that Merck asserted.

      Second, even taking CMS’s guidance at face value, the agency is trying to have

it both ways. In the very same guidance the Government invokes for its claim that

only MSD may sue, CMS indicated it would not recognize a transfer of ownership of

rights in a selected drug to a “related” corporate entity—in other words, the agency

would look past corporate form in implementing the Program. The force of such a

“transfer of ownership,” the agency said, will “depend on whether” it “was made to an

entity that is not a related party (e.g., not treated as part of the same employer under

[26 U.S.C. § 52(a)–(b)]).” Revised Guidance at 132 (emphasis added). The referenced

tax provision, 26 U.S.C. § 52, treats entities under common control—like Merck and

MSD—as a single unit. And the IRA itself cross-references that same tax law to treat




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affiliates “as one manufacturer” for other Program purposes. See 42 U.S.C. § 1320f–

1(d)(2)(B)(i); id. § 1320f–1(f)(1)(C)(i). Even under the CMS guidance, the bottom line

is that it does not matter which entity under the Merck umbrella holds the NDA; all

“related” parties are equally swept up. For that reason, Merck retains standing. 1

      Third, even if MSD were the only entity subject to the Program’s obligations,

the concerns animating the shareholder standing rule have no relevance here. The

“‘rule serves the noble function of preventing parent corporations from having their

cake and eating it too.’” Govt. Br. 11. But the Government cannot identify a single

strategic reason why Merck would prefer to be the named plaintiff in lieu of MSD.

There is none. Merck was the plaintiff in the complaint simply because it sued before

CMS announced its “primary manufacturer” test. Because “none of the principles

underlying the shareholder-standing rule” would be “offended by allowing [Merck’s]

suit to proceed,” this Court should reject the prudential standing objection. Gilardi

v. HHS, 733 F.3d 1208, 1216 n.5 (D.C. Cir. 2013); see also, e.g., Bellsouth, 144 F.3d at

62 (allowing parent corporation to proceed with constitutional challenge on behalf of

wholly owned subsidiaries subject to the regulatory action).




      1 CMS has also taken the same position on corporate aggregation in related

contexts. For Medicaid’s drug rebate program, for example, it has proposed to define
“manufacturer” “to include parent, brother-sister, or subsidiary corporations,” and
entities “under common corporate ownership or control.” 88 Fed. Reg. 34238, 34256
(May 26, 2023). The agency said that broader definition was necessary to respect
“Congressional intent” and to prevent a manufacturer from “exclud[ing] some of its
drugs from the drug rebate program” by “forming a subsidiary corporation.” Id.
There is little doubt, especially given its position in the Revised Guidance, that CMS
would take the same view with respect to the Program.




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      Finally, even the Government admits there is an exception to the shareholder

standing rule if the parent has its own “direct” interest in the claim. See Govt. Br.

10; see also Gilardi, 733 F.3d at 1216. Here, the Program imposes separate, distinct

burdens on Merck itself. Specifically, a manufacturer can suspend the IRA’s penalty

only by withdrawing entirely from Medicare and Medicaid. Govt. Br. 15. But the

Medicaid agreement with CMS identifies Merck itself as the “manufacturer.” Davish

Supp. Decl. ¶ 4 & Exh. A. That not only exposes the Government’s own inconsistency,

but shows that the Program impairs Merck’s independent interests, because Merck

would need to terminate that Medicaid agreement—in its own name—in order to

suspend the Program’s tax on MSD. That link suffices to defeat the Government’s

prudential standing objection a fourth time over.

      B.     Regardless, MSD’s Joinder Has Cured Any Defect.

      Even though the Government’s standing objection is misguided, the Court need

not confront this issue. The Government acknowledges that MSD has standing, and

consented to an amendment adding MSD as a plaintiff. That amendment moots any

concern, since “only one plaintiff must have standing.” In re Navy Chaplaincy, 697

F.3d 1171, 1178 (D.C. Cir. 2012); see also, e.g., Mullaney v. Anderson, 342 U.S. 415

(1952) (allowing addition of plaintiff to cure asserted standing defect). Whether the

right plaintiff is Merck or MSD, this challenge can therefore proceed. 2


      2 The addition of MSD as a second plaintiff does not affect any of the arguments

about the Program’s facial constitutionality, as laid out in the pending cross-motions
that are now almost fully briefed. Those motions therefore remain ripe for resolution
once briefing is completed, as Merck will explain in a forthcoming motion to govern
further proceedings. See also Davish Supp. Decl. ¶ 6.



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II.   THE PROGRAM EFFECTS PHYSICAL TAKINGS OF MERCK’S PROPERTY
      WITHOUT JUST COMPENSATION.

      Merck’s argument under the Takings Clause is simple. Prescription drugs are

property. The Program “takes” those drugs by threatening to penalize Merck, either

through a tax or by excluding it from other government benefits, unless it provides

Medicare beneficiaries with “access” to drugs at discounted prices. And those prices,

by definition, do not provide “just compensation” because they are capped at a fraction

of the drugs’ market price. This scheme, on its face, flouts the Fifth Amendment.

      In evaluating that argument, this Court has a new precedent to guide the way.

In August, the D.C. Circuit sustained a Takings Clause challenge to another federal

statute that requisitions property using the threat of fines. And, in doing so, the court

rejected the Government’s strikingly similar attempt to recast the taking as merely

a voluntary “condition” on government benefits. Valancourt Books, LLC v. Garland,

--- F.4th ---, 2023 WL 5536195 (D.C. Cir. Aug. 29, 2023).

      Valancourt involved a challenge to a provision of the Copyright Act that orders

the owner of a copyright in a work to “deposit two copies of the work with the Library

of Congress within three months of its publication.” Id. at *1. If the owner fails to do

so, it must “pay a fine.” Id. The plaintiff in Valancourt was an independent press

that publishes rare fiction. Id. at *3. The Copyright Office demanded that it provide

copies of certain books it had published, or else pay a fine of up to $250 per book plus

$2,500 for willful refusal to comply. Id. Valancourt instead sought a declaration that

the federal statute violated the Takings Clause. Id. While the district court rejected

the claim, a unanimous D.C. Circuit panel reversed.



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      Writing for the court, Chief Judge Srinivasan began by recounting that “[a]

physical appropriation of property presents the ‘clearest sort of taking,” triggering a

“simple, per se rule: The government must pay for what it takes.’” Id. at *6 (quoting

Cedar Point Nursery v. Hassid, 141 S. Ct. 2063, 2071 (2021)). The provision at issue,

amounting to “[a] government demand to turn over personal property,” constituted a

physical appropriation that triggered that rule. Id.

      Of course, the owners could “pay[] a fine instead of forfeiting their property.”

Id. at *8. But that did not “affect[] the analysis,” as a fine equally “burdens” property

rights. Id. Any other rule would allow the Government to “avoid” the Takings Clause

“by purporting to ‘simply give the owner a choice of either surrendering property or

making a payment equal to the property’s value.’” Id. at *8–9.

      The Government’s defense was that “a voluntary exchange for a governmental

benefit” is not a taking; it claimed depositing copies was a condition on copyright

protection. Id. at *6. But the D.C. Circuit disagreed: Under the statute, copyright

protection did not hinge on depositing the copies; rather, owners who fail to deposit

“are subject to a series of fines” but “retain copyright.” Id. at *7. The Government

then argued that owners could avoid those fines by opting out of copyright protection,

but the Circuit rejected that argument too. Id. at *9. While “a simple, seamless, and

transparent way to opt out” might “arguably” render the forfeiture of property

“voluntary,” those conditions were not satisfied. Id. Among other things, the opt-out

process was not “costless” to the owner—there was a $125 fee—and so turning over

the property could not be deemed truly “voluntary.” Id. at *9–10.




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      Although the Government largely ignores it, Valancourt is similar to this case

in many ways. Here, as in Valancourt, a federal statute purports to order a transfer

of property to someone else. Here, as in Valancourt, failure to do triggers a monetary

penalty. Here, as in Valancourt, the Government argues that this is still a voluntary

exchange because the owner can “opt-out” of the obligation or penalty by disclaiming

federal benefits. But here, as in Valancourt, the opt-out is anything but “simple,

seamless, and transparent”—and certainly is not “costless.”

      Indeed, this is an a fortiori case. The Copyright Office charged $125 to opt out

of copyright protection; even that was fatal. Meanwhile, the IRA requires drug

manufacturers to forfeit access to nearly half the national market to avoid the illusory

choice between handing over the drug or incurring immense daily penalties. Had the

Copyright Act required the owner to disclaim protection of all his works to avoid the

penalty for failing to deposit one work, it would have been (more) analogous to the

IRA. There is no way such a scheme would have survived the D.C. Circuit’s analysis.

      Repeating its failed strategy from Valancourt, the Government here too denies

there is any taking by emphasizing the supposed “options” available to Merck. Govt.

Br. 17. It opens its merits argument by claiming those “options” make the Program

“voluntary.” Govt. Br. 13–18. And it closes, similarly, by claiming that the Program

functions as a “condition on federal funds.” Govt. Br. 33–35. But walking through

each of Merck’s supposed “options” exposes the Government’s sophistry and lays bare

the Program’s offense against the Constitution. A step-by-step analysis reveals there

is no “choice” here—just one unconstitutional imposition or another.




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      A.     The IRA’s Compelled Sales Are Appropriations of Property.

      Start with Merck’s most obvious option—the one the IRA actually commands

it to take: Cave to Congress’s demands and promise to provide Medicare beneficiaries

with “access” to Januvia at whatever price the agency dictates. See 42 U.S.C. § 1320f–

3(a) (directing that manufacturer “shall … negotiate a maximum fair price”); id.

§ 1320f–2(a)(3) (ordering that “access to the maximum fair price … shall be provided”

by manufacturer) (emphases added). That is where the constitutional analysis begins

because, as the Government recognizes, the threshold inquiry is always whether the

alleged “funding condition … could be constitutionally imposed directly.” Govt. Br.

33 (quoting Rumsfeld v. FAIR, 547 U.S. 47, 59 (2006)).

      There is no doubt that such a command—imposed directly—would constitute

a physical taking. The drugs themselves are property under the Fifth Amendment.

See Horne v. Dep’t of Agric., 576 U.S. 351, 358 (2015). A government order to provide

property (drugs) to third parties (Medicare beneficiaries) is a taking of that property.

Cedar Point, 141 S. Ct. at 2072. And the promise of payment at prices below “market

value of the property” does not vitiate the taking; it merely bears on the amount of

compensation owed. Horne, 576 U.S. at 368–69; see also id. at 363–64 (holding that

partial recoupment of proceeds goes only to quantum of damages). The IRA may not

operate through “trucks” sent to Merck’s facilities to “haul away drugs.” Govt. Br. 27.

But the Constitution cares not how an appropriation “comes garbed.” Cedar Point,

141 S. Ct. at 2072. A forced transfer is a taking whether effectuated by truck or by a

functionally equivalent takeover of the prescription drug supply chain.




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       The Government’s fleeting counterarguments lack merit. See Govt. Br. 25–28.

At the first step (the property interest), the Government distracts by arguing that

manufacturers have no “vested property interest in Medicare sales.” Govt. Br. 25.

That is the opposite of Merck’s claim. The Program effects takings by compelling

sales of the selected drug to Medicare, not by depriving Merck of those sales. Merck’s

property is not “Medicare sales”; it is the prescription drugs themselves. Merck is not

trying to “force [its] drugs onto the government at rates the government is unwilling

to pay” (Govt. Br. 26); it is trying to resist the obligation to sell its drugs to Medicare

at rates the Government dictates. A defense contractor cannot force the Pentagon to

buy its aircraft carrier, but if the Pentagon demanded “access” to the vessel at 70%

off list price, that would be a classic, physical, per se taking. By the same token, it

matters little whether the President commandeers American steel mills or instead

orders them to provide steel at a price of his choosing. Cf. Youngstown Sheet & Tube

Co. v. Sawyer, 343 U.S. 579, 631 (1952) (Douglas, J., concurring).

       At the second step (the taking), the Government denies that the Program

“takes” drugs. It suggests that the IRA does not obligate manufacturers to provide

“access” to the drugs, only “access” to discounted prices. Govt. Br. 27–28. But that is

just wordplay; access to a price necessarily subsumes access to the product. If Merck

were to agree to provide Medicare with “access” to Januvia at a “maximum fair price,”

and then refuse to sell the drug to Medicare beneficiaries at all, that would obviously

not constitute compliance. It would be like a store promising a seniors’ discount and

then turning away every customer over 65 at the door.




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      Despite some vague insinuations, 3 the Government eventually acknowledges

that manufacturers’ “obligation” under the IRA is “to ultimately provide their drugs

at the negotiated prices.” Govt. Br. 34 (emphasis added). Likewise, in another telling

slip-up, the Government admits that the Program does not just “limit the prices” at

which drugs may be sold; it “limits the prices at which drugs are to be made available

under the Medicare program.” Govt. Br. 27 (emphasis added). The IRS recognizes

the same: The Program requires manufacturers “to provide access to selected drugs”

to eligible buyers. IRS, Notice 2023-52, at 2 (Aug. 4, 2023) (emphasis added). Indeed,

the statute goes so far as to mandate that every selected drug “shall” be included in

every Medicare Part D drug formulary, thus stripping the manufacturer of the right

to withhold that drug from coverage. 42 U.S.C. § 1395w–104(b)(3)(I)(i). To comply

with the IRA’s “access” obligation, a manufacturer therefore must provide its drug to

Medicare at the dictated price. That forced sale effectuates a taking. See Cedar Point,

141 S. Ct. at 2072 (law granting union “access” to property was per se taking).

      To be clear, the IRA does not permit a manufacturer to withhold the selected

drug from Medicare while continuing to receive coverage for its other products. CMS

did not identify that as a viable choice in the pages of guidance that the Government

repeatedly cites for its account of the manufacturers’ many “options.” See Revised

Guidance at 131–32.      That is because the IRA plainly forecloses such one-off

withholding; any other reading of the “access” requirement would make no sense. As



      3 See, e.g., Govt. Br. 15 (suggesting without explanation that manufacturer

may “otherwise stop selling [selected drug] to Medicare beneficiaries”).




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the Government admits, the law allows a manufacturer to suspend the IRA’s penalty

only if it withdraws all its products from Medicare and Medicaid. Govt. Br. 5–6.

Congress put manufacturers to that all-or-nothing choice; it provided no halfway

house of continuing to enjoy Medicare coverage for other products while selling the

selected drug only to those who pay privately. For a manufacturer that complies with

the Program’s demands rather than pay the tax or withdraw entirely from Medicare

and Medicaid—the “options” addressed below, see infra Part II.B, II.D—the transfer

of the drug to Medicare beneficiaries is thus legally compelled.

      Undaunted, the Government tries to get to the same place through a backdoor:

It suggests the IRA’s tax applies only to sales to Medicare, so a manufacturer would

face no penalty for impermissibly withholding the selected drug from Medicare. Govt.

Br. 7, 17. But that is flatly contrary to the statutory text, which imposes the excise

tax “on the sale … of any designated drug,” 26 U.S.C. § 5000D(a) (emphasis added)—

with no limitation based on who the buyer is. The Government’s invented limit also

conflicts with the statutory structure. Recall that the IRA “suspen[ds]” its tax if a

manufacturer leaves Medicare entirely. Id. § 5000D(b)–(c). If the tax applied only to

Medicare sales, there would be nothing to “suspend,” as such a manufacturer would

not incur any tax to begin with; the suspension regime would thus be superfluous.

But see United States ex rel. Polansky v. Exec. Health Res., Inc., 599 U.S. 419, 432

(2023) (applying “interpretive principle that every clause and word of a statute should

have meaning”). This would be akin to a law “suspending” the federal income tax for

years when an individual earns no income.




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      Clearly, Congress did not put manufacturers to a painful all-or-nothing choice,

holding hostage all Medicare and Medicaid coverage for all of their products, only to

allow them to circumvent that choice through an obscure tax loophole. In suggesting

otherwise, the Government rests exclusively on a few unclear words in a vague IRS

Notice that merely advises of a supposed intent to propose regulations on this issue

in the future. This is part of a pattern: The Government knows the statute as enacted

is indefensible, so it tries to rewrite it—and even to undercut its coherence—in a futile

effort to save it. See also infra at 18 n.5, 23, 41 (other examples).

      In short, the IRA compels manufacturers to provide “access” to their drugs, and

that distinguishes this novel regime from mere price regulation. Complying with the

Program means a manufacturer must make its drugs available at the discounted

prices, and provide them at that price to any Medicare-eligible individual. Companies

are thus “‘legally compelled to engage in price-regulated activity,’” which even the

Government agrees triggers the obligation to pay just compensation. Govt. Br. 13.

      And that brings us to the final step of the Takings Clause analysis: Does the

scheme provide for just compensation? On this front, the Government never disputes

that the Program’s ceiling prices do not represent the “market value” of the drugs and

thus do not satisfy the constitutional guarantee. Horne, 576 U.S. at 368–69. That is

why Merck’s challenge is a facial one—in all applications, the Program provides

below-market compensation for the property it takes. There is no need in this case

to determine the actual market value of any particular drug, because Merck seeks

only declaratory relief on this claim. See Merck MSJ Br. 19–22.




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      Confusingly, the Government nonetheless argues that, in the context of public

utilities—which are likewise compelled by law to serve the public, and therefore are

entitled to just compensation, Garelick v. Sullivan, 987 F.2d 913, 916 (2d Cir. 1993)—

any takings challenge must be directed toward “rates, not methods.” Govt. Br. 28

(quoting Verizon Commc’ns Inc. v. FCC, 535 U.S. 467, 525 (2002)). But Merck is not

challenging a price-setting “method” in the abstract. Its point is that the “rates”

capped by the IRA are pegged to a fraction of market price and so necessarily do not

provide market value. See United States v. Gen. Motors, 323 U.S. 373, 385 (1945)

(Douglas, J., concurring in part) (finding it “difficult to see” how “allow[ing] the

Government to … pay only a part of the rent” for occupied leasehold would provide

just compensation). Unlike in Verizon, here the face of the statute makes clear that

the IRA’s prices will fall below “just compensation.” So there is no need or reason to

wait for “any specific rate” to be selected. Govt. Br. 28. 4

      In sum, if the IRA’s compelled sales constitute takings (as they do), there is no

dispute that the IRA fails to provide the market-based compensation that the Fifth

Amendment demands. That warrants the declaratory relief that Merck seeks.



      4 While the Government does not dispute that the IRA’s ceiling prices fail to

provide just compensation, a set of amici argue that the market prices of prescription
drugs are not “fair” because manufacturers enjoy a period of exclusivity under patent
and FDA law. See Public Citizen Br. 8–9. Amici, however, cannot raise issues that
the parties forfeited. See Boehner v. Anderson, 809 F. Supp. 138, 139 (D.D.C. 1992).
Regardless, the Supreme Court has long endorsed “market price” as the measure of
compensation for property that is bought and sold in an established market. Kimball
Laundry Co. v. United States, 338 U.S. 1, 6 (1949). Amici cite no authority suggesting
any different standard. Nor should there be one: Properly understood, the exclusivity
to which they object is an innovation-inducing feature of this market—not a bug.




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      B.     The Government Cannot Circumvent the Takings Clause by
             Penalizing the Refusal To Forfeit Property.

      Although the IRA uses the mandatory term “shall” to describe the obligation

to “negotiate” with the Government and “agree” to its dictated price, the statute does

provide one implicit alternative: A manufacturer can instead pay an excise tax for

each day of “[n]oncompliance” with the Program’s obligations. 26 U.S.C. § 5000D(b).

The Government cites this as one of the “options” that supposedly renders the

Program voluntary: “A manufacturer that does not wish to sign such an agreement”

or “to otherwise participate” in the Program can just “pay an excise tax.” Govt. Br. 5.

      This “option” does not remedy the taking; it enforces it. If there were no penalty

for refusal to transfer the drugs, perhaps the toothless command alone would not

warrant relief. But the IRA backs its demand with monetary sanctions; that amounts

to legal compulsion. See Horne, 576 U.S. at 356 (demand for raisins enforced through

penalties was a taking). On this point, Merck cannot do any better than Chief Judge

Srinivasan, writing for the D.C. Circuit in Valancourt:

      It is true that copyright owners can satisfy Section 407 by paying a fine instead
      of forfeiting their property. But the government understandably does not
      contend that the “option” of paying a fine affects the analysis. A statute can
      effect a taking even if the property owner never actually forfeits property and
      is instead subject to a fine. … Just as the alternative of a fine in Horne did not
      save the statute from constituting a taking, Section 407’s scheme of fines does
      not save the statute here, either. A “demand for money” that “operate[s] upon
      ... an identified property interest” can violate the Takings Clause because a
      “monetary obligation burden[s]” ownership of property. Were we to find
      otherwise, the government could avoid the strictures of the Takings Clause by
      purporting to “simply give the owner a choice of either surrendering [property]
      or making a payment equal to the [property’s] value.”

2023 WL 5536195, at *8-9 (citations omitted).




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      In short, the IRA by its terms directs manufacturers either to provide “access”

to their products at a discount, or pay monetary penalties. That “choice” itself violates

the Constitution. 5

      C.     The Manufacturer’s Power To Dispose of Its Property Before
             the Taking Does Not Cure the Constitutional Problem.

      Next, the Government offers another “option” that is implicit in the scheme—

manufacturers can “divest their interest in the selected drug(s).” Govt. Br. 7; see also

Govt. Br. 2, 17, 22, 23, 23 n.11 (similar). As noted above, CMS guidance clarifies that

such divestment would have to involve an unrelated party; this is not as easy as

spinning off the selected drug to a subsidiary or affiliate. See supra at 5-6; Revised

Guidance at 131–32.      Keeping that caveat in mind, the Government’s point is

apparently that manufacturers can abandon their interests in the property before

Medicare takes it, and thereby escape the taking.



      5 The Government claims that Merck “misunderstands” the amount of the tax.

Govt. Br. 22 n.10. The amount of the tax makes no constitutional difference; imposing
a penalty on the refusal to abandon property rights violates the Fifth Amendment in
any case. Indeed, the fine in Valancourt was just $250, and that sufficed to make the
scheme unconstitutional. See 2023 WL 5536195, at *7, *8–9. Regardless, there is no
misunderstanding on Merck’s part. The IRA calculates the tax using a formula that
turns on the “tax” and the “price for which” the drug is “sold.” 26 U.S.C. § 5000D(a).
Using that formula, the Congressional Research Service explained that the tax would
reach “1,900% of the selected drug’s price.” Cong. Rsch. Serv., Tax Provisions in the
Inflation Reduction Act of 2022 (H.R. 5376) at 4, tbl. 2 (2022). The Government cites
an IRS notice that it intends in the future to propose regulations treating the drug’s
“price” as inclusive of the “tax” even though the IRA refers to those inputs as distinct.
See IRS, Notice No. 2023-52, at 3 (Aug. 4, 2023). On that approach—fictionally
reducing the “price” of the drug to accommodate the tax—the penalty would appear
to be smaller. Govt. Br. 7. Once again, the Government is trying to rewrite the
statute to make it seem less draconian than what Congress enacted. But once again,
its efforts are foreclosed by clear statutory text.



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      This does not work any better than the “option” of paying a monetary fine. If

the Government announced an intent to seize your house in 30 days, your power to

sell the house to a third party within that window obviously would not remedy the

violation of the Fifth Amendment. The reason is simple: Transferring one’s property

“burdens ownership of property” no less than a fine. Valancourt, 2023 WL 5536195,

at *9. Indeed, divesting the to-be-taken property strips the owner of all of the same

property rights as the taking itself—the manufacturer would transfer “title” and “lose

any right to control” the property. Horne, 576 U.S. at 364.

      This argument is reminiscent of the Government’s submission in Horne that

there was no taking because the raisin growers could just “plant different crops” or

“sell their raisin-variety grapes as table grapes or for use in juice or wine.” 576 U.S.

at 365. The Supreme Court rejected that theory “as a matter of law,” because “basic

and familiar uses of property”—like the right to sell goods—cannot be recharacterized

as “special governmental benefit[s] that the Government may hold hostage, to be

ransomed by the waiver of constitutional protection.” Id. at 365–66. Likewise, in

Loretto v. Teleprompter Manhattan CATV Corp., the Court rejected an argument that

no taking occurred because the “landlord could avoid the requirements of [the statute]

by ceasing to rent the building to tenants.” 458 U.S. 419, 439 n.17 (1982). Property

rights “cannot so easily be manipulated,” the Court warned. Id.

      So too here. Merck can yield “access” to its products, pay an enormous penalty,

or abandon its property interest in Januvia before the Government appropriates it.

Just as in Horne and Loretto, that trilemma violates the Takings Clause.




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      D.     The “Option” To Withdraw All Products from Medicare and
             Medicaid Is a Coercive and Disproportionate Penalty.

      Finally, the last “option”—and the Government’s principal theme—is that the

manufacturer can suspend the IRA’s tax penalty by withdrawing entirely from the

Medicare and Medicaid programs for all of its products. The Government’s defense

hinges on the notion that this “choice” renders the Program entirely “voluntary,” akin

to any ordinary condition on a government benefit. See Govt. Br. 12–15. But that

argument fails under multiple related lines of authority, all stemming from the same

fundamental reality. The “option” to withdraw from Medicare and Medicaid is not a

genuine offer that is reasonably tied to the Program’s scope or objectives; it is a cudgel

to coerce compliance by threatening exclusion from distinct and pre-existing funding

streams that are known to be critical to the manufacturers’ viability.

      Despite its categorical statements, even the Government cannot seriously deny

there are constitutional limits on the “conditions” it may attach to spending programs

like Medicare. The Government could not limit coverage to the drugs of providers

who endorse the President’s reelection campaign, of course. Nor could it “condition”

participation on agreement by manufacturers’ CEOs to open their homes for charity

events. Those may be extreme hypotheticals, but they illustrate that there are legal

standards for the “conditions” that may be placed on government benefits—a mere

tie-in to Medicare does not insulate the Program from scrutiny. Rather, the Court

must consider whether ransoming all reimbursements from Medicare and Medicaid

as a means to coerce a transfer of property is constitutionally permissible under the

framework the Supreme Court has adopted. It is not.



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      1.     The first “tell” that Congress was not genuinely offering Medicare and

Medicaid coverage subject to the “condition” that manufacturers comply with the

Program is that the statute does not work that way. The statute issues a simple

command: provide access to selected drugs or pay a substantial penalty. See 42 U.S.C.

§ 1320f–6. It does not propose a quid pro quo whereby participation is rewarded by

coverage or noncompliance is penalized by withholding it. Manufacturers are entitled

by law to Medicare and Medicaid coverage for their products either way, and the IRA

enforces the new Program rules through a distinct, independent penalty.

      Valancourt is again instructive. The D.C. Circuit refused to recharacterize the

Copyright Act’s deposit obligation as a “condition” on copyright benefits. It observed

that, under the statute, owners “receive no additional benefit for the works they

forfeit,” because depositing a book is not “required to continue retaining copyright.”

2023 WL 5536195, at *7. “While copyright owners are subject to a series of fines for

failure to deposit, they retain copyright regardless of whether they pay the fines.” Id.

That meant there was no “voluntary exchange for a benefit,” as the benefit (copyright

protection) was “illusory”—it was a right the owner “already enjoyed.” Id. at *6 (citing

Horne, 576 U.S. at 366). Since the obligation was “untethered” to the benefit, there

was no “quid pro quo” and no “voluntary exchange.” Id. at *8.

      The IRA is structured exactly the same way, so it too cannot be characterized

as offering a “voluntary exchange.” If a manufacturer does not comply with its new

Program obligations, the consequence is not that it loses coverage under Medicare or

Medicaid, even for the selected product (let alone for all of its products). Rather, the




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manufacturers “are subject to a series of fines” for failure to comply, but “retain” their

coverage rights “regardless.” Valancourt, 2023 WL 5536195, at *7. As in Valancourt,

this structure signifies that Program compliance is not a “quid pro quo” exchange for

coverage; the “benefit” to manufacturers is “illusory” because Medicare and Medicaid

coverage are rights they already enjoy. Id. at *6, *8. The IRA is not—and was never

intended to be—a genuine condition on, or exchange for, a governmental benefit.

      2.     The Government argues that, even though the Program is not formally

structured as a condition on Medicare or Medicaid coverage, it is functionally similar

because manufacturers can suspend the tax by opting out of Medicare and Medicaid.

Govt. Br. 2, 15. The D.C. Circuit rejected the same maneuver in Valancourt.

      There, the Government argued that because “a copyright owner can readily

disavow copyright protection and thereby avoid the deposit requirement,” the statute

effectively functioned as “a voluntary exchange.” 2023 WL 5536195, at *9. The D.C.

Circuit disagreed. It granted only that, “perhaps,” a forfeiture “might arguably be

voluntary” if the owner had a “simple, seamless, and transparent” opt-out mechanism

that was “known and costless.” Id. Here, manufacturers’ “choice” is none of those.

      For starters, it is the opposite of “costless.” In Valancourt, a $125 fee made the

opt-out insufficient. Here, a manufacturer must surrender not only coverage of the

selected drug, but also its coverage vis-à-vis every product it sells. Expecting Merck

to disclaim half the U.S. market for all its products is akin to telling copyright owners

they can avoid the deposit obligation for one work by abandoning copyright protection

for everything they publish. That is not a voluntary exchange. It is a stick-up.




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      For another thing, this opt-out is neither “seamless” nor “transparent.” As in

Valancourt, the “statute itself gives no indication” that withdrawing from Medicare

can be readily “effectuate[d].” Id. at *10. To the contrary, Congress expressly blocked

manufacturers from withdrawing without providing up to 23 months’ notice—by

which point it would already be too late to avoid the Program. See 42 U.S.C. § 1395w–

114a(b)(4)(B)(ii); Merck MSJ Br. 42–43. The Government responds that CMS has

found a convoluted way to bypass that statutory limit: If manufacturers want to

withdraw, the agency will exercise its own power to “terminate” the manufacturer

earlier. Govt. Br. 16–17. The Government developed that workaround “only in the

course of litigation,” reflecting a “post hoc” tactic “by an agency seeking to defend past

[congressional] action against attack.” Valancourt, 2023 WL 5536195, at *11. It

stands in evident conflict with the statute—which lays out two distinct paths for

termination, an onerous one at the manufacturer’s request, and a more flexible one

when the agency invokes “good cause” to terminate the manufacturer against its will.

If nothing else, CMS’s reinterpretation—prepared in the shadow of litigation—cannot

be deemed “simple, seamless, and transparent.” Id. at *9.

      3.     The IRA’s all-or-nothing “offer” also violates the anti-coercion principle

articulated in National Federation of Independent Business v. Sebelius, 567 U.S. 519

(2012) (NFIB). The Government there made exactly the same argument as here:

Medicaid is “voluntary,” so there is no constitutional barrier to “condition[ing]” that

federal spending on the States’ agreement to expand the program. See U.S. Medicaid

Br. 22, NFIB, 567 U.S. 519 (No. 11-400). The Supreme Court saw it differently.




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      Spending Clause regulation is only permissible if it is genuinely voluntary, not

coercive. NFIB, 567 U.S. at 578, 581 (choice must be “real,” not just “theor[etical]”).

The Medicaid expansion was the latter, because it leveraged massive, pre-existing

funding streams on which the States had come to rely as a “means of pressuring” the

States to accept federal terms that dramatically reshaped the program. Id. at 580.

As Merck explained in its opening brief, it is hard to imagine a closer analogy to the

Program. As in NFIB, manufacturers face the loss of existing funding streams—all

Medicare and Medicaid coverage—if they do not bow to new demands. As in NFIB,

those funding streams are crucial to the manufacturers’ viability, leaving them with

only the illusion of choice. 6 And as in NFIB, the new “conditions” work a fundamental

revision to the original bargain. 7 See Merck MSJ Br. 39–42.



      6 The Government’s only evidence that a manufacturer could actually escape

the IRA’s demands is a single news article (hidden behind a paywall). See Govt. Br.
15 n.4. But the Government blatantly mischaracterizes the article’s contents. It says
nothing about whether any manufacturer would or could withdraw from Medicare
and Medicaid. It simply notes that, because of the IRA, some drug companies may
focus on developing medicines that do not prioritize the Medicare population.
      7 Indeed, as the Government’s amici observe, one of the compromise elements

of Medicare Part D was the provision preserving market forces by requiring price
negotiations to occur between drug manufacturers and plan sponsors—without any
threat of interference by government entities. See, e.g., U.S. Senators Br. 11. In other
words, Congress allowed Medicare to amass enormous, monopsonistic market power
only on condition that it not use that power to disrupt market pricing. Medicare Part
D’s sponsors called this “noninterference” provision a “fundamental protection”
against “price fixing by the CMS bureaucracy.” 149 Cong. Rec. S15624 (Nov. 23, 2003)
(Sen. Grassley). Without it, the agency’s newfound “market power” would enable it
to “dictate a price” for “most pharmaceutical products.” Id. at S15707 (Nov. 24, 2003)
(Sen. Santorum). Congress recognized—then—that such “governmental price fixing”
would “destroy” industry innovation. Id. at S15631 (Sen. Frist). The IRA breaks that
fundamental promise—abandoning noninterference for unilateral price controls.



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      The Government’s attempts to cast doubt on this analysis fall flat. It first tries

to cabin NFIB as protecting only state sovereignty, not other constitutional rights.

Govt. Br. 19–20. That is an analytical error. In NFIB, the Tenth Amendment and

federalism were the reasons why Congress could not order the States directly to

expand Medicaid; that would have violated the anti-commandeering principle. See

NFIB, 567 U.S. at 577–78. The second, distinct question was whether Congress was

improperly “using financial inducements” to reach that forbidden result—i.e., to

“indirectly coerce[] a State to adopt a federal regulatory system as its own.” Id.

(emphasis added). The Court’s coercion analysis was directed toward that latter

question—whether the Spending Clause path amounted to “economic dragooning”

that left “no real option but to acquiesce.” Id. at 578, 582.

      In this case, the substantive right is conferred by the Fifth Amendment, not

the Tenth; the Takings Clause, not federalism, disables Congress from ordering

manufacturers to turn over their property. Supra Part II.A. But the next question—

whether the Spending Clause lets the Government achieve indirectly what it cannot

do directly—is the same. It asks whether “persuasion [has] give[n] way to coercion.”

NFIB, 567 U.S. at 585. That is precisely the inquiry the Supreme Court has applied

for a century to evaluate unconstitutional conditions: asking whether constitutional

rights have been impaired “by the indirect … process of requiring a surrender, which,

though, in form voluntary, in fact lacks none of the elements of compulsion.” Frost &

Frost Trucking Co. v. RR. Comm’n of Cal., 271 U.S. 583, 593 (1926); see also Koontz

v. St. Johns River Water Mgmt. Dist., 570 U.S. 595, 607 (2013) (citing Frost).




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      Indeed, these two lines of authority—one focused on spending inducements to

cause States to forfeit sovereignty, and the other focused on spending inducements to

cause private parties to forfeit constitutional rights—both ask whether “what cannot

be done directly because of constitutional restriction cannot be done indirectly.” Pac.

Co. v. Johnson, 285 U.S. 480, 501 (1932). And in both contexts, the Supreme Court

has long answered that question by trying to distinguish coercion from voluntary

acceptance. See Kathleen Sullivan, Unconstitutional Conditions, 102 HARV. L. REV.

1413, 1428–34 (1989). 8 This overlap persists. See, e.g., Cummings v. Premier Rehab

Keller, PLLC, 142 S. Ct. 1562, 1570 (2022) (applying principle that Spending Clause

legislation must be “voluntary” in context of private recipients); Pace v. Bogalusa City

Sch. Bd., 403 F.3d 272, 286-87 (5th Cir. 2005) (en banc) (“the unconstitutional-

conditions doctrine … is anchored at least in part in a theory of coercion” and is “part-

and-parcel of the standard Spending Clause analysis”); Koslow v. Pennsylvania, 302

F.3d 161, 174 (3d Cir. 2002) (“The ‘unconstitutional conditions’ doctrine is based on

the proposition that government incentives may be inherently coercive.”).

      In the end, the Government never actually defends its view that the NFIB

coercion analysis depends on the source of the “constitutional restriction” at issue—

e.g., federalism or the Fifth Amendment. Johnson, 285 U.S. at 501. That NFIB dealt

with one and not the other is an observation, not an argument.


      8 See Frost, 271 U.S. at 593 (“compulsion”); Steward Mach. Co. v. Davis, 301

U.S. 548, 590 (1937) (“undue influence”); Speiser v. Randall, 357 U.S. 513, 518–19
(1958) (“coercing”); United States v. Butler, 297 U.S. 1, 71 (1936) (“coercion by
economic pressure”); Union Pac. R.R. Co. v. Pub. Serv. Comm’n, 248 U.S. 67, 70–71
(1918) (“duress”); Carter v. Carter Coal Co., 298 U.S. 238, 289 (1936) (“compulsion”).



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      The Government next argues that NFIB’s coercion inquiry does not constrain

its actions taken as a “market participant.” Govt. Br. 20. Its cited authorities do not

support that distinction, however. Most stand for the unremarkable point that States

sometimes act as market participants rather than regulators—which matters for

some preemption doctrines. See Chamber of Com. of U.S. v. Brown, 554 U.S. 60, 70

(2008) (NLRA preemption); Associated Builders & Contractors Inc. v. City of Jersey

City, 836 F.3d 412, 417–18 (3d Cir. 2016) (ERISA preemption). The other cases hold

only that States’ market activities—as opposed to regulations—lie beyond the reach

of the Commerce Clause. Reeves, Inc. v. Stake, 447 U.S. 429, 435–37 (1980); Brooks

v. Vassar, 462 F.3d 341, 358 (4th Cir. 2006). Not one of the Government’s cases

evaluated a conditional spending program under anything like the NFIB coercion

test—much less approved anything like the IRA’s means of coercion.

      In any event, the Government’s premise is false; the Program is a patent abuse

of sovereign power, not an everyday example of ordinary market participation. Only

the Government can impose taxes on counterparties who decline its terms, as the IRA

does. Only the Government can legislate its own market dominance, as Congress did

by enacting Medicare Part D using its spending authority. And only the Government

can punish intransigent counterparties by shutting them out of other markets, as the

Program threatens to do. On the Government’s own account, antitrust laws prohibit

private entities from abusing market power that way. See Merck MSJ Br. 47–48.

The Program thus represents a potent use of sovereign power. There is no excuse for

shielding that use of power from constitutional constraints.




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      Finally, the Government insists the Program satisfies NFIB’s inquiry if that

framework applies, because its conditions directly govern the use of the offered funds.

Govt. Br. 22–23. Not so. The IRA leverages all Medicare and Medicaid spending on

Merck’s other products to extract below-market sales of one drug—Januvia. The

condition (handing over Januvia at a large discount) has nothing to do with the funds

being held hostage (reimbursement for other products sold to federal beneficiaries).

Thus, while the Government may impose conditions that “place[] a direct restriction

on how a [recipient] uses [the] federal funds,” Gruver v. La. Bd. of Supervisors, 959

F.3d 178, 183 (5th Cir. 2020), that is not how the IRA operates. The Program does

not limit how Merck “uses” the funds it receives for other products that Medicare and

Medicaid purchase. It instead ransoms those independent funds to coerce a distinct

transaction relating to different products. That is exactly what NFIB forbids.

      4.     Finally, this scheme also runs afoul of the traditional unconstitutional

conditions doctrine. In the Takings Clause context, the Supreme Court applies a two-

pronged test to evaluate the constitutionality of conditioning a government benefit on

forfeiture of a property right: Such a condition can survive only if it has an “essential

nexus” to the benefit and is “rough[ly] proportiona[l]” to it. Dolan v. City of Tigard,

512 U.S. 374, 391 (1994); see also Nollan v. Cal. Coastal Comm’n, 483 U.S. 825, 834–

37 (1987). Neither holds true here. Almost by definition, forcing Merck to hand over

discounted Januvia has no “essential nexus” to Medicare or Medicaid coverage for

other products, and leveraging all of Medicare and Medicaid to induce a single distinct

transaction is the opposite of “proportional.”




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      The Government does not deny that the Program, viewed as a condition, fails

the nexus-and-proportionality test. Instead, the Government correctly observes that

this test only applies if “the government could not have constitutionally ordered the

person asserting the claim to do what it attempted to pressure the person into doing.”

Govt. Br. 33 (quoting Koontz, 570 U.S. at 612). It then says that “predicate is absent

here for all the reasons explained above.” Id. That is sleight of hand. The “reasons

explained above” reduce to the notion that the Program is voluntary because of the

option to withdraw from Medicare. That is a conditions argument, so the Government

must survive the conditions framework. Put another way, the “predicate” is satisfied

because the Government could not order Merck to surrender its drugs or pay a fine.

See supra Parts II.A–C. The only way out is to recast the Program as a condition on

Medicare funding, and that implicates the Nolan-Dollan framework.

      Next, the Government contends that the Nolan-Dollan standard governs only

in the context of “land-use decisions.” Govt. Br. 33. That is demonstrably wrong. In

Cedar Point, which had nothing to do with zoning, the Government tried to recast a

physical taking as a condition on government benefits, and the Court invoked Nolan-

Dollan to reject that defense. 141 S. Ct. at 2079–80. The Court held that the “nexus

and rough proportionality requirements” were the proper “framework” for analyzing

whether “the government may require property owners to cede a right of access as a

condition of receiving certain benefits, without causing a taking.” Id. at 2079. That

is precisely the question posed here. Accord Horne, 576 U.S. at 366 (citing Nollan in

rejecting effort to characterize raisin appropriation as “voluntary exchange”).




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      The earlier decision in City of Monterey v. Del Monte Dunes at Monterey, Ltd.,

526 U.S. 687 (1999), is not to the contrary. Contra Govt. Br. 33. Monterey held only

that “it was unnecessary for the [Ninth Circuit] to discuss rough proportionality,”

because the jury instructions “did not mention” that standard, which was “not readily

applicable” to a case challenging a “denial of development.” 526 U.S. at 703. This

case does not challenge denial of development; like Cedar Point, it challenges a law

that conditions government benefits on the provision of access to property.

      Ultimately, however the standard is articulated, the Government cannot deny

that a standard exists—regulating by way of spending conditions is not a free pass.

And however the standard is framed, the Program fails it. Ransoming distinct and

pre-existing funding streams that are critical to an industry’s viability to induce the

abandonment of other property rights is a paradigmatic unconstitutional condition.

      E.     The Government’s Cases Are Inapposite or Outdated.

      The Government relies heavily on a series of out-of-circuit cases describing

other Medicare provisions as “voluntary.” Those cases cannot bear the weight the

Government places on them. They do not immunize all spending conditions from

constitutional review—as just explained, that obviously “proves too much.” Horne,

576 U.S. at 365 (quoting Loretto, 458 U.S. at 439 n.17). Rather, these cases merely

underscore that the critical question is whether the Program is actually “voluntary”

from a constitutional perspective. And answering that question—evaluating whether

this particular government program is voluntary or coerced—requires applying the

frameworks set forth in cases like NFIB, Horne, and Nollan-Dolan.




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      The cases that the Government cites do not answer that question. Indeed, all

but two of them predate the clarifications in NFIB and Horne of what “voluntary”

participation means. See NFIB, 567 U.S. at 581 (recognizing that coercive conditions

render participation involuntary); Horne, 576 U.S. at 365 (denying that ability to

leave raisin market rendered participation in program voluntary). And none of the

cases discussed NFIB’s conditions framework or applied the Nollan-Dolan test. E.g.,

Minn. Ass’n of Health Care Facilities, Inc. v. Minn. Dep’t of Public Welfare, 742 F.2d

442, 446-47 (8th Cir. 1984) (applying “substantive due process” test); Burditt v. HHS,

934 F.2d 1362, 1376 (5th Cir. 1991) (conducting no scrutiny). Unsurprisingly, some

of these cases rest on reasoning that cannot be squared with more recent Supreme

Court authority. Compare, e.g., Horne, 576 U.S. at 365 (power to exit market did not

ameliorate coercion), with Franklin Mem. Hosp. v. Harvey, 575 F.3d 121, 126 (1st Cir.

2009) (reasoning that hospital could avoid mandate to provide free service by

“choos[ing] to stop using its property as a hospital”).

      In any event, the Government’s cases are easily distinguished on their facts;

they principally addressed schemes that bear no resemblance to the Program here.

Most are plainly irrelevant because they dealt only with ordinary price regulation,

not a command to provide property to others. Bowles v. Willingham, for example,

sustained a price cap imposed on property rentals during World War II, emphasizing

the deference accorded to wartime legislation. 321 U.S. 503, 509–10, 517, 519 (1944).

But that statute had “no requirement that the apartments in question be used for the

purposes which bring them under the Act.” Id. at 517.




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      Similarly, a host of the cited cases featured objections to particular Medicare

reimbursement rates—federal law did not mandate the provision of goods or services.

See Garelick, 987 F.2d at 916–17; Whitney v. Heckler, 780 F.2d 963, 972 (11th Cir.

1986); St. Francis Hosp. Ctr. v. Heckler, 714 F.2d 872, 874–75 (7th Cir. 1983) (per

curiam); Se. Ark. Hosp., Inc. v. Burwell, 815 F.3d 448, 449–50 (8th Cir. 2016); see also

Baker Cnty. Med. Servs., Inc. v. U.S. Atty. Gen., 763 F.3d 1274, 1279–80 (11th Cir.

2014) (mandate imposed by Florida law, but plaintiff sued only federal defendants).

Indeed, Garelick recognized that the Takings Clause requires compensation where

companies “are compelled to employ their property to provide services to the public”;

those just were not the facts in that case. 987 F.2d at 916. Here, by contrast, the IRA

mandates that manufacturers turn over their property, under threat of either paying

a tax penalty or being cut off from Medicare and Medicaid altogether. 9

      Even if these cases were legally on point and correctly decided, they still do not

imply that the Program is constitutional. After all, NFIB’s coercion test and Nollan-

Dolan’s proportionality test are fact-intensive. This case involves unprecedented,

stark facts: (1) threatened exclusion from half a national market, (2) draconian

penalties, (3) extreme demands that effectively constitute a new program, and (4) a

dramatic change that upended reliance on earlier congressional promises.




      9 Even more irrelevant is Baptist Hospital East v. HHS, which involved a

hospital’s bid to obtain Medicare reimbursements for services it voluntarily provided
for free to non-Medicare patients. 802 F.2d 860, 862, 869–70 (6th Cir. 1986) (denying
“any obligation by the federal government to allay a part of [a hospital’s] financial
burden resulting from bad debts and acts of charity”).




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      None of the Government’s cases involved such extremes. The plaintiff in Baker

County, for example, challenged a relatively modest condition—the obligation to treat

federal prisoners at Medicare rates—that had been on the books for decades before

the challenge. Baker, 763 F.3d at 1276; see also Gruver, 959 F.3d at 184 (suggesting

voluntariness is more likely when condition has existed for decades). The outcry that

the Program here has elicited from the affected manufacturers is a telling refutation

of the supposed analogies to prior, routine Medicare terms and conditions.

                                   *      *      *

      In the end, Merck’s Takings Clause claim is simple. The IRA demands that

Merck “provide access” to its drugs for less than fair market value. The Government

tries to distract with the claim that manufacturers have other “options.” But both

the Supreme Court and D.C. Circuit have rejected similar illusory “options” before.

Without judicial relief, Merck has only one real choice: submit to the Government’s

demand to turn over its property for less than it is worth. And that is precisely what

the IRA was designed to accomplish—a reality only highlighted by the campaign of

Government-boosting amici who praise the Program’s supposed policy merits (while

ignoring its innovation-killing impacts). There are many ways to advance the policy

goal of reducing drug prices, but the Constitution imposes constraints. The Program

crosses the constitutional line, as Merck has demonstrated, the Government fails to

rebut, and its amici ignore. This Court should see past the Government’s revisionism

and recognize the Program for what it is: a classic per se taking without just

compensation.




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III.   THE PROGRAM COMPELS MERCK TO SPEAK IN SERVICE OF AN IDEOLOGICAL
       AGENDA.

       Had Congress merely wanted to compel discounted drug sales to Medicare, it

could have authorized CMS to set prices and ordered manufacturers to provide access

to their drugs at those prices. That would have been economically equivalent to the

Program. But not politically equivalent. Instead, Congress routed those obligations

through “agreements” the manufacturers are compelled to sign, characterizing CMS’s

prices as “maximum fair prices” reached through “negotiation.” None of that is true,

and Merck agrees with none of it, but is compelled to sign on pain of economic ruin.

That charade lets the Government pretend the Program is a politically popular

negotiation rather than a politically toxic socialization of prescription drugs.

       The IRA’s unprecedented mandate to sign these “agreements” or face penalties

compels speech in violation of the First Amendment. The Government does not argue

that this scheme passes muster under any form of heightened scrutiny; indeed, it

articulates no interest that could possibly justify the IRA’s compulsion of speech.

Instead, the Government denies that signing the “agreement” involves speech at all.

But by forcing manufacturers to sign on the dotted line, the Program compels

expression directly—there is nothing “incidental” about it.

       The Government next falls back to its refrain that the Program is voluntary

because manufacturers can withdraw from Medicare and Medicaid. But beyond all

the points discussed above, the Supreme Court has made clear that federal spending

can never be conditioned on compelled speech. Requiring Merck to peddle a contested

political narrative is unconstitutional—full stop.



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      A.     The Government Cannot Conscript Manufacturers To Conceal
             the Program’s Nature.

      1.     The Government first argues that the Program impacts speech only in

an “incidental” way. Govt. Br. 29. It analogizes to “run-of-the-mill price regulation,”

which forbids certain transactions and thus incidentally limits speech proposing or

facilitating those transactions. Id. There is no comparison. Congress did not impose

price caps, with indirect implications for manufacturers’ speech. It directly mandated

that manufacturers express assent to purported “agreements” about the Program’s

prices, their “fairness,” and the process by which they were reached. Whereas price

regulations regulate prices (conduct), the IRA compels agreements (speech).

      Thus, while it is certainly true that “the First Amendment does not prevent

restrictions directed at commerce or conduct from imposing incidental burdens on

speech,” Sorrell v. IMS Health Inc., 564 U.S. 552, 567 (2011), that principle has no

application here. It applies only where the law regulates conduct but affects speech

downstream. In the classic examples, anti-discrimination laws incidentally prohibit

“White Applicants Only” signs, and bans on “outdoor fires” incidentally forbid flag-

burning. Id. Likewise, “typical price regulation” regulates the “seller’s conduct” by

placing certain prices off-limits—affecting speech “indirectly” by barring the offering

or advertising of those prices. Expressions Hair Design v. Schneiderman, 581 U.S.

37, 47 (2017). In all these cases, it is the non-speech conduct that is regulated (racial

discrimination; starting fires; charging illicit prices); speech is burdened incidentally,

only insofar as it effectuates the forbidden conduct. Such laws do not directly “dictate

the content of the speech at all.” FAIR, 547 U.S. at 62 (emphasis added).



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      The IRA does. It requires a manufacturer to represent “agree[ment]” with the

“maximum fair price” set by HHS. 42 U.S.C. § 1320f–2(a). Indeed, the Government

admits that the “agreement” itself is “the core mechanism” of the Program and the

“source of the enforceable obligation for manufacturers to ultimately provide their

drugs at the negotiated prices.” Govt. Br. 34. This is therefore the inverse of the

classic “incidental” cases, where conduct is regulated and speech is only indirectly

affected. Here, the Program directly compels speech (the agreement), and that speech

incidentally affects conduct (by accepting the obligation to provide the drugs). Again,

Congress did not merely cap drug prices and thereby effectively limit Merck’s speech

or contracts as a practical consequence. Rather than simply place certain prices off-

limits, Congress ordered manufacturers to speak about the prices HHS imposes—to

express “agree[ment]” to those prices, admit they are “fair,” and describe them as the

product of “negotiation.” Unlike routine price caps, laws so directly “regulating the

communication of prices” have speech as their object, and thus merit heightened First

Amendment scrutiny. Expressions Hair, 581 U.S. at 48 (emphasis added).

      Notwithstanding the Government’s fearmongering, Merck’s position thus does

not imply that “any price control” prohibits sellers “from expressing the idea that its

products are worth more.” Govt. Br. 31. Again, that would be a price regulation with

incidental speech effects. The Program is instead a direct speech compulsion with

incidental price effects. And there is nothing “run-of-the-mill” about it—indeed, the

Government fails to identify any other scheme that works like this. It appears to be

completely unprecedented in this regard.




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      For the same reasons, the cases the Government cites are inapposite. It rests

heavily on Nicopure Labs, LLC v. FDA, 944 F.3d 267 (D.C. Cir. 2019), but the statute

there banned distribution of free samples of certain tobacco products. Id. at 290.

That is conduct, not speech; at most, the statute incidentally prohibited offering the

product for the price of $0 (i.e., proposing an illicit transaction). See id. at 291; see

also Nat’l Ass’n of Tobacco Outlets, Inc. v. City of Providence, 731 F.3d 71, 78 (1st Cir.

2013) (reasoning similarly that First Amendment does not protect “offers to engage

in banned activity”). As explained, the IRA is fundamentally different. Merck claims

no open-ended right to advertise prices or propose transactions; it only seeks relief

from Congress’s demand that it sign an “agreement” that conveys a string of deceptive

messages about the agency-mandated prices. Nicopure did not consider—much less

endorse—anything like that. Meanwhile, when HHS tried to force tobacco companies

to disseminate controversial government messages, the D.C. Circuit promptly held

that its regime flouted the First Amendment. R.J. Reynolds Tobacco Co. v. FDA, 696

F.3d 1205, 1211-12 (D.C. Cir. 2012).

      Nor do the Government’s other cases help it. In FAIR, the Supreme Court held

that providing military recruiters with equal access to campus did not compel speech.

547 U.S. at 62. Again, that was conduct. But suppose the Solomon Amendment had

forced schools to post fliers on the quad declaring the military to be a “qualified

employer” who would visit pursuant to an “agreement” with the Pentagon. Because

that law would have “dictate[d] the content of the speech”—and done so intentionally

to give credence to the military—the Court would have struck it down. Id.




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      2.     Pivoting slightly, the Government suggests that even if the IRA directly

compels manufacturers to sign “agreements,” those documents are not “expressive”

and thus do not implicate the First Amendment. See Govt. Br. 29, 32. That is not a

credible position. The agreements plainly convey a message: Manufacturers literally

sign on the dotted line, expressing assent to a “fair price” they supposedly “agree” to

following “negotiation.” That clearly qualifies as speech under the First Amendment.

Indeed, the agreement’s expressive force—and its political value to the Government—

is the only conceivable reason for structuring the Program this unusual way.

      To state the obvious, the “creation and dissemination of information are speech

within the meaning of the First Amendment.” Sorrell, 564 U.S. at 570. Indeed, “if

the acts of ‘disclosing’ and ‘publishing’ information do not constitute speech, it is hard

to imagine what does fall within that category.” Bartnicki v. Vopper, 532 U.S. 514,

527 (2001). Thus, while First Amendment “protection does not end at the spoken or

written word,” it certainly starts there. Texas v. Johnson, 491 U.S. 397, 404 (1989)

(emphasis added). Consistent with that, the Supreme Court has deemed all manner

of written information “speech”—regardless of its form or function. E.g., Sorrell, 546

U.S. at 570 (“sales, transfer, and use of prescriber-identifying information”); Rubin v.

Coors Brewing Co., 514 U.S. 476, 481 (1995) (“information on beer labels”); Dun &

Bradstreet, Inc. v. Greenmoss Builders, Inc., 472 U.S. 749, 759 (1985) (plurality op.)

(credit reports). Of particular note, the Court has recognized that “an individual’s

signature will express” the messages conveyed, expressly or implicitly, by what he

signs. John Doe No. 1 v. Reed, 561 U.S. 186, 194–95 (2010).




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      Under those standards, the IRA’s signed “agreements” are clearly expressive.

They consist of “written word[s]” attributed to Merck (Johnson, 491 U.S. at 404), and

“publish[] information” about Merck’s participation in the Program (Vopper, 532 U.S.

at 527), to “disseminat[e]” it to the public (Sorrell, 564 U.S. at 570). Moreover, the

agreements are plainly “inten[ded] to convey a particularized message.” Spence v.

Washington, 418 U.S. 405, 410–11 (1974) (per curiam).           The 12-page Template

Agreement authored by CMS calls itself an “Agreement” nearly 50 times, and states

over 20 times that Merck and the Government have or will “agree” on various

matters. See ECF 23–6 (Template Agreement). The document’s communicative

intent could not be clearer: to (mis)inform the public that Merck and CMS “agreed”

on a negotiated “maximum fair price” through a voluntary process of “negotiations.”

      That the IRA’s agreements are legally binding does not make them less than

expressive. See Reed, 561 U.S. at 195 (“[W]e do not see how adding … legal effect to

an expressive activity somehow deprives that activity of its expressive component,

taking it outside the scope of the First Amendment.”). Nor does it matter that the

agreements also include some factual information about Merck’s legal obligations.

See Riley v. Nat’l Fed’n of the Blind, 487 U.S. 781, 797–98 (1988); Sorrell, 564 U.S. at

570. The IRA’s compelled agreements are not purely “factual,” anyway, because they

do not merely require a manufacturer to acknowledge that the Program’s rules exist.

Instead, the IRA forces manufacturers to represent agreement to those mandates—

including the “maximum fair prices” dictated by HHS. Merck’s statutory obligation

is, regrettably, a fact. But its “agreement” is pure fiction.




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      The Government trumpets Merck’s observation that “most ordinary contracts

do not express views or convey beliefs.” Govt. Br. 29. But as Merck explained, some

commercial agreements do carry expressive weight. See Merck MSJ Br. 29–30 (citing

New Hope Family Servs., Inc. v. Poole, 966 F.3d 145, 177–78 (2d Cir. 2020)). The

Government offers no rebuttal, instead blithely depicting the Program’s agreements

as “ordinary” contracts. Govt. Br. 29. Hardly. Typical contracts simply memorialize

the terms of arm’s-length transactions—not “agree” to disputed political value

judgments. The IRA’s “agreements” are unique, indeed unprecedented, in purporting

to conceal government mandates as voluntarily assumed commitments.

      And that is exactly their purpose. The Government protests that Merck has

not proven as much. Govt. Br. 31. But the proof is in the pudding: The IRA’s backers

continue to rely on this deceit to cast the Program as one of voluntary negotiations

between consenting parties. Indeed, immediately after the first ten manufacturers

signed the IRA’s “agreements”—their only viable choice—the Government used those

coerced signatures to promote its political narrative. In an Oval Office video, the

President crowed that manufacturers “are coming to the negotiating table,” and the

White House announced that all ten had “signed agreements to participate.” 10 Media

outlets dutifully parroted the same deceptive message: “The manufacturers of 10

expensive medications have agreed to negotiate with the federal government for lower



      10 President Biden, X (Oct. 3, 2023, 8:05 AM), https://twitter.com/POTUS/sta-

tus/1709177956285759844?s=20; The White House, Biden-⁠Harris Administration
Takes Major Step Forward in Lowering Health Care Costs; Announces Manufacturers
Participating in Drug Price Negotiation Program (Oct. 3, 2023) (emphasis added).




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prices.” Michael D. Shear, Drug Makers Agree to Negotiate With Medicare on Prices

of 10 Medications, N.Y. TIMES, Oct. 3, 2023 (emphasis added).          Transparently,

Congress and the Executive compelled speech to score political points.

      The Government fails to offer any other explanation for the Program’s sham

“agreements.” It would have been easy for Congress to provide that manufacturers

“shall not” charge certain prices. Instead, it imposed an unprecedented obligation to

feign “agree[ment] with the Government’s policy.” Agency for Int’l Dev. v. All. For

Open Soc’y Int’l, Inc., 570 U.S. 205, 213 (2013). The Government’s amici unwittingly

explain why, trotting out polls showing broad support for “Medicare negotiating with

drug companies to lower prescription drug prices.” AARP Br. 11. The IRA’s façade

facilitates that framing. But enlisting regulated entities in a PR campaign on behalf

of their regulators strikes at the heart of the First Amendment.

      3.     Once again, the agency has tried to mitigate the statute’s constitutional

defect, in this instance by tucking a “disclaimer” into the Template Agreement. Govt.

Br. 30. Once again, the effort is futile. The IRA itself is the source of the compelled

speech here. Congress designed the Program to hinge on “agree[ments]” to negotiate,

identify, and offer “maximum fair price[s].” 42 U.S.C. § 1320f–2(a). That is the “core

mechanism” of the Program (Govt. Br. 34), and that original sin inevitably permeates

its implementation—regardless of inconsistent bureaucratic argle-bargle.

      In all events, the law is clear that compelled speech cannot be cured by ordering

the speaker to incant additional language disclaiming the message he has been forced

to transmit. Merck MSJ Br. 28–29; see also Telescope Media Grp. v. Lucero, 936 F.3d




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740, 757 (8th Cir. 2019); Frudden v. Pilling, 742 F.3d 1199, 1205 (9th Cir. 2014);

Circle Sch. v. Pappert, 381 F.3d 172, 182 (3d Cir. 2004). The Government ignores all

of this law and simply insists that the disclaimer merely “emphasize[s] an already

obvious point.” Govt. Br. 31 n.12. Of course, if that were true, CMS would have saved

its breath. Regardless, the parties appear to agree that the disclaimer should play

no role in the Court’s First Amendment analysis—either it does not solve the problem

(Merck’s view) or there is no problem to solve (the Government’s view).

      In a similar vein, the Government argues that the Program does not impair

the marketplace of ideas because Merck can share its own perspective with the public.

Govt. Br. 32–33. The Government cites no precedent for its assertion that counter-

speech would cure a speech compulsion—and for good reason. That would be true in

every compelled speech case. The Supreme Court’s foundational compelled speech

cases would then make no sense. After all, as the dissent in Wooley v. Maynard noted,

New Hampshirites were free to “disavow” the State’s motto using “a conspicuous

bumper sticker.” 430 U.S. 705, 722 (1977) (Rehnquist, J., dissenting). Likewise, an

employee could erect a sign explaining that his dues should not be understood as

endorsements of union viewpoints. But see Knox, 567 U.S. at 309. Even still, the

Supreme Court has long held that the First Amendment protects each American’s

right to “decide for himself or herself the ideas and beliefs deserving of expression,”

Turner Broad. Sys., Inc. v. FCC, 512 U.S. 622, 641 (1994), and to “present their

message[s] undiluted by views they d[o] not share,” 303 Creative LLC v. Elenis, 600

U.S. 570, 586 (2023). The Program’s staged “agreements” thus violate the First




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Amendment’s compelled speech doctrine even if Merck remains free to issue a self-

serving press release explaining away its signature on the dotted line.

      In short, the Government’s solutions are part of the problem—Congress cannot

“require speakers to affirm in one breath that which they deny in the next.” Pac. Gas

& Elec. Co. v. Pub. Utils. Comm’n, 475 U.S. 1, 16 (1986) (plurality op.).

      B.     Federal Funds Cannot Be Conditioned on Compelled Speech.

      In the end, the Government retreats again to its all-purpose defense of the IRA:

voluntary participation. Govt. Br. 34–35, 39. As Merck has explained, compliance

with the Program is coerced, not voluntary. Supra Part II. The Government cannot

evade First Amendment scrutiny of the IRA’s speech compulsion, just as it cannot

evade Fifth Amendment scrutiny of the IRA’s forced sale requirements.

      Even if the Program could be deemed “voluntary” for Takings Clause purposes,

however, the First Amendment is more demanding. Merck MSJ Br. 44. The Supreme

Court has “broadly rejected the validity of limitations on First Amendment rights as

a condition to the receipt of a governmental benefit.” Elrod v. Burns, 427 U.S. 347,

359 (1976) (plurality op.). In particular, Congress may never use funding conditions

to “requir[e] recipients to profess a specific belief” or express “the Government’s view

on an issue of public concern.” All. for Open Soc’y, 570 U.S. at 218. Such conditions

are unconstitutional even where the funding offer is not “actually coercive, in the

sense … that [it] cannot be refused.” Id. at 214. Accordingly, even if Merck did have

a realistic path to escape the Program, the IRA’s regime of compelled agreements

would remain unconstitutional and must be enjoined.




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      The Government responds by citing the line of authority holding that Congress

does not violate the First Amendment by declining to subsidize private speech. Govt.

Br. 34; Regan v. Tax’n With Representation, 461 U.S. 540, 545 (1983). That principle

lets Congress “define the limits of [a] ... spending program” by attaching conditions

that “specify the activities Congress wants to subsidize.” All. for Open Soc’y, 570 U.S.

at 214–15. So, for example, Congress may support “family planning projects” without

equally funding projects that encourage abortion. Rust v. Sullivan, 500 U.S. 173, 178,

196–99 (1991). And Congress can grant tax-exempt status to charitable non-profits

without also offering that implicit subsidy to lobby groups. Regan, 461 U.S. at 544.

Simply put, Congress’s choices about which activities to support do not burden the

speech rights of those whose activities it leaves out.

      That principle does not permit compelled speech, and has never been deployed

to do so. See Evergreen Ass’n, Inc. v. City of New York, 740 F.3d 233, 250–51 (2d Cir.

2014). Nor does it apply on its own terms. The IRA is not a tailored subsidy of speech.

It amends Medicare—a program that subsidizes prescription drugs—to require that

funding recipients express “the Government’s view[s]” on new pricing mandates. All.

for Open Soc’y, 570 U.S. at 218. “[B]y its very nature,” that kind of condition “goes

beyond defining the limits of [a] federally funded program.” Id. Indeed, an IRA that

imposed price caps and compelled sales without a sham “agreement” requirement

would result in the exact same level of federal spending—proving that this regime

has no logical connection to delimiting the Government’s spending choices. It instead

is a mechanism to defuse political opposition to those spending choices.




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      The Government tries to water down the First Amendment test by asserting

that “conditions on speech” are valid if they “pertain to the nature of the government

program.” Govt. Br. 34. But that is an overbroad articulation of the rule: “Congress

cannot recast a condition on funding as a mere definition of its program in every case,

lest the First Amendment be reduced to a simple semantic exercise.” Legal Servs.

Corp. v. Velazquez, 531 U.S. 533, 547 (2001). After all, “the definition of a particular

program can always be manipulated to subsume the challenged condition.” All. for

Open Soc’y, 570 U.S. at 215. If Congress limited Affordable Care Act subsidies to

individuals who agreed to put “I love Obamacare” bumper stickers on their cars, the

condition would similarly “pertain to the nature of the government program,” but that

would obviously constitute an impermissible effort to leverage federal funding to

coerce political speech.

      The Government tries a similar (and similarly ineffective) manipulation here,

pointing out that the compelled “agreements” are central to operation of the Program.

Govt. Br. 34–35. They are, but that does not change the reality that the agreements

do not function to constrain how federal funds are spent; they function to secure the

appearance of consent to an agency-dictated process and price. Simply embedding a

speech compulsion in a spending scheme does not immunize it from First Amendment

scrutiny. And, viewed as a “condition,” the Program’s “agreement” mandate fails that

scrutiny. This Court should therefore enjoin it.




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                                   CONCLUSION

      The Court should deny the Government’s motion for summary judgment and

instead enter judgment for Merck and grant its requested relief. 11



Dated: October 19, 2023                 Respectfully submitted,


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      11
         In a footnote, the Government purports to reserve its right to file additional
briefing on “the appropriate scope of remedy” if the Court rules in Merck’s favor. Opp.
35 n.14. That is improper. Merck sought summary judgment and explained why it
was entitled to declaratory and injunctive relief. The Government had ample space
in its opposition to make any arguments about the scope of remedy. By failing to do
so, the Government has waived any such arguments.




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